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      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT




  I, Philip D. Swain, being first duly sworn, depose and state as follows:


          I.   INTRODUCTION AND AGENT BACKGROUND


1. I am a Special Agent(“SA”) with the United States Bureau of Alcohol,

  Tobacco, Firearms, and Explosives(“ATF”), currently assigned to the

  Billings Field Office. I have been employed by the ATF since September

  2013. I have completed the Criminal Investigator Training Program at the

  Federal Law Enforcement Training Center(“FLETC”). I have also

  completed ATF Special Agent Basic Training course. While attending the

  academies at FLETC in Glynco, Georgia, I received specialized training

  concerning violations of the Gun Control Act within Title 18 ofthe United

  States Code and violations ofthe National Firearms Act within Title 26 of


  the United States Code. As such, I am an investigative or law enforcement

  officer ofthe United States, within the meaning of 18 U.S.C. § 2510(7), that

  is, an officer ofthe United States empowered by law to conduct

  investigations and make arrests for offenses enumerated by 18 U.S.C. §

  2516.    Your Affiant is involved in the investigation of suspected violations

  of Federal law by Cristyan Jose GONZALEZ-CARRILLO.



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                             II.    DESCRIPTION


2. This Affidavit is submitted in support of a Criminal Complaint requested for

   Cristyan Jose GONZALEZ-CARRILLO,a person who provided a false

   statement to acquire firearms from a Federal Firearms Licensee, in violation

   of Title 18, United States Code 922(a)(6). The statements in this Affidavit

   pertain to the investigation described below and are based in part on

   information provided by my own observations and experience as an ATF

   Special Agent, and the observation and experiences of other fellow law

   enforcement officers participating in the investigation. This Affidavit does

   not purport to contain all the facts related to this investigation, but only those

   facts necessary to establish probable cause with respect to the

   aforementioned offenses.


                          III.     PROBABLE CAUSE


   3. In December of 2019, the Bozeman Police Department received an

      email from a concerned citizen reporting Christyan GONZALEZ-

      CARRILLO was selling stolen tools via multiple social media sites

      (Facebook and “WhatsApp.") The concerned citizen also reported.

      GONZALEZ- CARRILLO steals high-end bicycles and

      construction equipment and then transports the stolen items to

      Mexico via stolen trailers with stolen license plates.


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4. ATF SA Kirby Fanus is aware that Blackfoot, Idaho Police

   Department conducted a traffic stop on Jose Adrian Medina-Torres

   on July 1, 2020. Medina-Torres was towing a stolen trailer. Medina-

   Torres was arrested for possession of stolen property.

5. SA Fanus is aware that Medina-Torres made a jail call to

   GONZALEZ-CARRILLO,and GONZALEZ-CARRILLO was

   going to bail Medina-Torres out ofjail. Medina-Torres found out

   GONZALEZ-CARRILLO wasn’t going to bail him out ofjail, and

   decided to cooperate with local law enforcement.

6. On July 1, 2020, ATF SSA Joel Miller interviewed Medina-Torres

   at the Bingham County,ID Jail with Blackfoot Police Department

   Detective Luis Chapa, and Homeland Security Investigations SA

   Tyler Hatch. Medina-Torres stated GONZALEZ-CARRILLO

   purchases firearms and advertises firearms for sale to a group on

   WhatsApp. Medina-Torres said he is a part ofthe group on

   WhatsApp and that the majority ofthe people on the group live in

   Ensenada, Mexico. Medina-Torres provided law enforcement

   written consent to search his cell phone. Medina-Torres showed the

   investigators some of GONZALEZ-CARRILLO’s firearm

   advertisements via the WhatsApp on his cellular phone. SSA


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  Miller conducted a brief review ofthe WhatsApp data and observed

  multiple photographs of firearms laid out as if on display.

7. Medina-Torres has been to GONZALEZ-CARRILLO’s residence,

  located at 1096 Longbow Lane, Unit B,Bozeman, MX,numerous

  times, and travels to GONZALEZ-CARRILLO’s residence

  approximately every two weeks to make payments on various

  vehicles purchased from GONZALEZ-CARRILLO. Medina-

  Torres has seen numerous firearms and boxes of ammunition in


  GONZALEZ-CARRILLO’s detached garage. Medina-Torres does

  not know the exact number offirearms GONZALEZ-CARRILLO’s


  has, but knows that GONZALEZ-CARRILLO’s has acquired 8-10

  firearms within the last week. GONZALEZ-CARRILLO told


  Medina-Torres about the recent purchase and that it was fulfilling

  some sort of order. GONZALEZ-CARRILLO told Medina-Torres


  all ofthe firearms and ammunition are for people in Ensenada,

  Mexico.


8. Medina-Torres knows that GONZALEZ-CARRILLO has traveled to


  Mexico on at least three occasions since August of 2019. Medina-

  Torres took a trip to Mexico between August and October 2019.

  Medina-Torres was towing a trailer loaded with suspected stolen


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  tools. Medina-Torres followed GONZALEZ-CARRILLO,who was

  towing a trailer with a suspected stolen Bobcat Skid-Steer Loader.

   Medina-Torres and GONZALEZ-CARRILLO crossed the border at


   Tecate. Medina-Torres said his brother happened to meet

  GONZALEZ-CARRILLO while traveling down to Mexico in

  December of 2019. At that time GONZALEZ-CARRILLO was


  towing a travel trailer, and crossed the border at Tecate. Medina-

  Torres approximated GONZALEZ-CARRILLO’s next trip to

  Mexico was in April 2020.

9. Medina-Torres said GONZALEZ-CARRILLO asked him to tow the


  travel trailer that he was arrested with in Blackfoot, Idaho, down to

  Mexico.


10. GONZALEZ-CARRILLO offered to pay Medina-Torres $1,200;

  $600 cash and $600 towards debt on a vehicle he purchased from

  GONZALEZ-CARRILLO. Medina-Torres went over to


  GONZALEZ-CARRILLO’s residence on June 30, 2020.

  GONZALEZ-CARRILLO showed him the trailer that he wanted


  Medina-Torres to tow to Mexico. The trailer was located two


  streets over from GONZALEZ-CARRILLO’s residence. After


  hooking up the trailer, Medina-Torres then got into GONZALEZ-


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  CARRILLO’S vehicle and they went to a storage facility

  approximately 15 minutes northwest ofthe Bozeman airport. There

  they stole a travel trailer, hooking it up to GONZALEZ-

  CARRILLO’s vehicle. After that, they drove back to where

  Medina-Torres’ vehicle was located, and then both departed the

  area.




11. GONZALEZ-CARRILLO told Medina-Torres they were going to

  take the travel trailers to a trailer park at the Fort Hall Indian

  Reservation and drop them off. They would then drive back to

  Bozeman, Montana, and on Sunday, July 5, 2020, they would leave

  Bozeman with all of the firearms and ammunition that are in


  GONZALEZ-CARRILLO’s detached garage and drive back to the

  trailers. GONZALEZ-CARRILLO would then put the firearms and

  ammunition in the trailer he was towing and they would leave the

  trailer park and drive to San Diego, CA. Medina-Torres refused to

  take “his” trailer across to Mexico because he was afraid he would


  not be able to get back into the United States. Therefore San Diego

  was as far as he was willing to go. Medina-Torres believes

  GONZALEZ-CARRILLO was therefore going to take each trailer

  across the border, one at a time.


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12. Medina-Torres stated the firearms are currently being stored in

   GONZALEZ- CARRILLO’S detached garage.

13. Additionally, Medina-Torres told ATE SSA Miller that

   GONZALEZ-CARRILLO offered to buy guns for him when they

   went to the recent gun expo in Bozeman. Medina-Torres said

   GONZALEZ-CARRILLO knows Medina-Torres is an illegal alien,

   and therefore offered to straw purchase firearms.

14. GONZALEZ-CARRILLO offered to sell Medina-Torres two


  firearms last week and two firearms this week.


15. Medina-Torres stated that he had observed GONZALEZ-


   CARRILLO with approximately 4-5 handguns and 4-5 AR styled

   rifles in the last few days.

16. On July 2, 2020, ATE Resident Agent in Charge(RAC)Joseph

   Korth reviewed ATE Report of Multiple Sale or Other Disposition

   of Pistols and Revolvers(ATE Eorm 3310.4)forms related to

  transactions of firearms for GONZALEZ-CARRILLO.Per the Gun


   Control Act, the Multiple Sales Eorms are required to be completed

   by Eederal Eirearm Licensee’s during transactions oftwo or more

   handguns within a five day period. Copies of the Multiple Sales

  Eorms are forwarded directly to ATE upon completion of the

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  transaction of the firearms. The primary purpose of the forms is to

  indicate to ATF possible “straw purchasing” efforts and trafficking

  of firearms. Upon review ofthe transactions, GONZALEZ-

  CARRILLO has purchased approximately 31 handguns from stores

  in the Bozeman, MT area between February 2, 2020 and June 18,

  2020. Sixteen ofthe 31 handguns are the same make, model, and

  caliber. Based on RAC Korth’s training and experience when

  multiple transactions ofthe same firearm occur it is often an

  indicator that the firearms are being purchased for someone else

  and/or being trafficked. RAC Korth estimates the value ofthe

  handgun firearms purchased to be between $11,000 and $13,000.

17. On June 10, 2020, Montana Analysis and Technical Information

  Center(MATIC)provided a Montana Employment History for

  GONZALEZ-CARRILLO to ATF SA Philip Swain. It showed

  GONZALEZ-CARRILLO had not been employed by a company

  since third (3''^) quarter, 2017

18. On July 2,2020, SA Fanus learned that GONZALEZ-CARRILLO

  resides at 1096 Longbow Lane, Unit B,Bozeman, Montana and that

  a 2006 Nissan Titan XE Montana license plate CKR994 was parked

  outside the apartment complex.


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19. On July 2,2020, RAC Korth reviewed License Plate Reader(LPR)

   data for Montana license plates CTA758 and CKR994. License

   plates CTA758 and CKR994 are registered to GONZALEZ-

   CARRILLO. A review ofthe records for plate CTA758 show six

   border crossings at San Ysidro, CA from April 13, 2020 through

   June 6, 2020. San Ysidro, CA is at the border of Mexico in southern

   California. The inbound and outbound crossings show the duration

   of stay in Mexico to be approximately three days for each trip. A

   review ofthe records for license plate CKR994 show three

   crossings in 2019. Medina-Torres was stopped and arrested in the

   vehicle with license plate CKR994.

20. On July 2, 2020, RAC Korth reviewed records related to border

   crossing encounter contacts by the U.S. Customs and Border

   Protection with GONZALEZ-CARRILLO for the years of 2019 and

   2020. GONZALEZ-CARRILLO has crossed into the United States


   from Mexico on thirteen(13)occasions in 2019 and ten(10)

   occasions from January 2020 to June 2020.

21. On July 2, 2020, SA Fanus reviewed Medina-Torres cell phone

   data that was downloaded on July 1, 2020. SA Fanus saw

   GONZALEZ-CARRILLO had posted several AR styled rifles on


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   WhatsApp in May and June 2020. A photograph posted on

   GONZALEZ-CARRILLO’s WhatsApp account shows a young

   child holding an AR style firearm. On June 19, 2020, ATF Agents

   interviewed GONZALEZ-CARRILLO at his residence. The same


   child in the photograph answered the door.

22. On July 2, 2020, a federal search warrant was granted and executed

   at the residence of GONZALEZ-CARRILLO. Several ofthe


   recovered semi-automatic handguns and AR style rifles were staged

   in the garage in the original gun cases or soft sided aftermarket gun

   cases with ammunition and magazines. Several firearms.

   ammunition, and firearm accessories were seized from inside the

   residence and the garage. Specific to garage were four(4) Glock

   semi-automatic handguns, two(2)Beretta semi-automatic

   handguns, and five(5)Diamondback AR style semi-automatic

   rifles. Two of Glock handguns seized from the garage are further

   identified as:


         Glock, model 22,.40 caliber semi-automatic pistol, S/N:

         AEHV770 and


         Glock, model 45,9mm semi-automatic pistol, S/N:

         BNTZ152.



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   A similar firearm seen in the photograph with the young child was

   also recovered.


23. While the search warrant was being executed at GONZALEZ-

   CARRILLO’s residence, RAC Korth spoke with a source of

  information(SOI)that is a neighbor to GONZALEZ-CARRILLO

   and lives in the apartment complex. The SOI stated that

   GONZALEZ-CARRILLO and his family were out oftown at a

   hotel and were to return home on July 4, 2020. The SOI also

   advised that GONZALEZ-CARRILLO was supposed to be taking a

  trip to Mexico on Sunday, July 5, 2020.

24. On July 6,2020, ATF SA Philip Swain reviewed Report of

   Multiple Sale or Other Disposition of Pistols and Revolvers, ATF

  Form 3310.4, dated June 18, 2020. This form was completed by a

  Bob Ward & Sons, Inc.(3011 Max Avenue, Bozeman, MT 59718,

  Federal Firearms Licensee (FFL): 9-81-03l-Ol-K-06505) employee.

   GONZALEZ-CARRILLO purchased the two aforementioned

  firearms from Bob Ward & Sons Inc. on June 17, 2020.

25. On July 6, 2020, SA Swain obtained a copy ofthe ATF Form 4473

   completed by GONZALEZ-CARRILLO for the aforementioned

  firearms. On Question 11(a) Are you the actual transferee/buyer of


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   the firearm(s) listed on this form?, GONZALEZ-CARRILLO

   checked “Yes”.


26. SA Swain also got a signed copy of Bob Ward & Sons, Inc.’s FFL.

   Their license expires on January 1, 2023(FFLs are valid for 3

   years.). SA Swain also conferred with ATF Industry Operations

   Investigator(lOI) Timothy Hawkins. lOI Hawkins confirmed Bob

   Ward and & Sons, Inc. FFL was valid on June 17, 2020.

                         IV.   CONCLUSION


27. Based on my training and experience, and the foregoing facts, I believe

   there is probable cause to believe that Cristyan Jose GONZALEZ-

   CARRILLO, violated Title 18, United States Code, Section 922(a)(6) -

   in connection with his acquisition offirearms, namely a Glock, model 22,

   .40 caliber semi-automatic pistol, S/N AEHV770 and a Glock, model 45,

   9mm semi-automatic pistol, S/N BNTZ152., from Bob Ward & Sons,

   Inc. Bozeman, Montana, a licensed dealer, knowingly made a false and

   fictitious written statement to Bob Ward & Sons, Inc., which statement

   was intended and likely to deceive Bob Ward & Sons, Inc., as to a fact

   material to the lawfulness of such sale and acquisition ofthe said firearm

   to the defendant under Chapter 44 of Title 18, in that the defendant

   represented at question 11(a) on ATF Form 4473 ,Firearms Transaction


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         Form, dated June 17,2020,the defendant was not the actual

         transferee/buyer of the firearms. These violations occurred in the County

         of Gallatin, in the State and District of Montana on or before June 17,

         2020.


      28.1 swear that the facts presented herein are true and accurate to the best of

         my knowledge.




                                                             Special Agent



Sworn to before me over the telephone and signed by me pursuant to federal rule
of criminal procedure 4.1 and 4(d) on the   day of July, 2020.




                                              Kathleen L. Desoto
                                              United States Magistrate Judge
                                              District of Montana




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